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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


United States of America,                  :
                                           :            Case No.: 1:20-cr-077
         Plaintiff,                        :
v.                                         :            Judge Timothy S. Black
                                           :
Matthew Borges,                            :
                                           :
         Defendant.                        :



 DEFENDANT MATTHEW BORGES’ MOTION TO STRIKE PREJUDICIAL
            SURPLUSAGE FROM THE INDICTMENT


         Defendant, Matthew Borges (“Borges”), by and through undersigned counsel,

hereby moves the Court pursuant to Federal Rule of Criminal Procedure 7(d) to:

        strike portions of the Indictment that purport to allege violations of private-
         sector honest services fraud (18 U.S.C. §§ 1343, 1346) because that statute is, as
         applied, void for vagueness; and,

        strike portions of the Indictment that purport to allege violations of the Travel
         Act because the alleged predicate offense, O.R.C. § 3517.22, is a minor state
         offense that is not an offense of bribery for purposes of the Travel Act and the
         prosecution violates principles of due process and federalism.

The reasons in support of this Motion are fully set forth in the attached Memorandum

in Support.




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                                    Respectfully submitted,

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                            MEMORANDUM IN SUPPORT

   I.       INTRODUCTION

         Portions of the Indictment against Borges purporting to allege violations of

private-sector honest services fraud and the Travel Act must be stricken for two

reasons. First, the private-sector honest services fraud statute as applied in this case

is void for vagueness. Second, alleged violations of the Travel Act, predicated on O.R.C.

§ 3517.22(A)(2), violates constitutional principles of due process and federalism because

the alleged state predicate offense is not an offense of bribery for purposes of the Travel

Act. Because these allegations do not allege any cognizable racketeering activity, they

are irrelevant and prejudicial and must be stricken from the Indictment.

   II.      FACTS

         Borges is charged with one count of RICO conspiracy under 18 U.S.C. 1962(d).

(R. 22, Indictment.) “The RICO conspiracy statute, simple in formulation, provides:

‘It shall be unlawful for any person to conspire to violate any of the provisions of

subsection (a), (b), or (c) of this section.’ 18 U.S.C. § 1962(d).” Salinas v. United States,

522 U.S. 52, 63 (1997). Here, the Indictment alleges, in pertinent part, that Borges

conspired with others to violate § 1962(c),

         that is, to conduct and participate directly and indirectly, in the conduct
         of the affairs of the enterprise through a pattern of racketeering activity,
         … consisting of multiple acts indictable under 18 U.S.C. §§ 1343, 1346
         (relating to honest services wire fraud); *** 18 U.S.C. § 1952 (relating to
         racketeering, including multiple acts of bribery under Ohio Revised
         Code § 3517.22(a)(2)[.]

(R.22, Indictment, PageID 1256-57.)




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      The specific allegations of private-sector honest services fraud and the Travel

Act are:

      52.   It was part of the conspiracy that Householder’s Enterprise
      bribed and attempted to bribe employees and agents of the Ballot
      Campaign to improperly discharge their campaign duties and to obtain
      information about the Ballot Campaign’s organization in order to defeat
      the Ballot Campaign[.] (Id. at PageID 1261.)

      123. During the fall of 2019, among other things, Householder’s
      Enterprise used Company-A-to-GENERATION-NOW money paid
      through Front Company to bribe and attempt to bribe signature
      collectors working for the Ballot Campaign, via Petition Services Co. 2.
      (Id. at PageID 1282.)

      124. Householder’s Enterprise discussed the tactic of bribing the
      signature collectors to defeat the Ballot Campaign during recorded
      conversations. On or about September 23, 2019, CLARK explained,
      with HOUSEHOLDER present, “so we have to go out on the corners and
      buy out their people every day. We started doing that today and
      everybody’s have a fucking shit fit.” CLARK continued, “if we know off
      25 people, collecting signatures, it virtually wipes them out in next 20
      days; this ends the whole fucking thing, ends in, that how hard it is, in
      addition to the TV, the direct mail, and everything else…” It was at this
      point in the conversation, when HOUSEHOLDER interrupted, and
      added, “It is so important, it is so important, that they are not successful,
      because when the legislature votes on something it needs to stay law.”
      After this recording, CLARK went on to have over 40 telephone contacts
      with an individual from Petition Services Co. 2, who was contacting the
      Ballot Campaign’s signature collectors (Id. at PageID 1282-83.)

      125. *** including a bribe payment to a Ballot Campaign insider for
      information[.] (Id. at PageID 1283.)

      126. On or about September 2, 2019, BORGES offered CHS-1, an
      employee and/or agent of the Ballot Campaign, bribe money for inside
      information about the Ballot Campaign to further Householder’s
      Enterprise’s efforts. (Id. at PageID 1283.)

      127. On or about September 13, 2019, using funds from the 17
      Consulting account, which was funded solely by wires from
      GENERATION NOW, BORGES paid CHS-1 $15,000 for inside
      information about the Ballot Campaign. Following the exchange,
      BORGES asked the employee/agent on a number of occasions for the

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      number of total signatures the Ballot Campaign had collected[.] (Id. at
      1283.)

   III.   DISCUSSION

   A. The Court’s Authority to Strike Prejudicial Surplusage

      Pursuant to Rule 7(d), “[u]pon the defendant's motion, the court may strike

surplusage from the indictment[.]” Fed. R. Crim. P. 7(d). The rule “serves to ‘protect

the defendant against immaterial or irrelevant allegations in an indictment, ... which

may ... be prejudicial.’” United States v. Berroa, 856 F.3d 141, 157 (1st Cir. 2017)

(quoting United States v. Lewis, 40 F.3d 1325, 1346 (1st Cir. 1994)).

      “The Rule is properly invoked when an indictment contains nonessential

allegations that could prejudicially impress the jurors.” United States v. Kemper, 503

F.2d 327, 329 (6th Cir. 1974). It has been observed that “[i]f the language in the

indictment is information which the government hopes to properly prove at trial, it

cannot be considered surplusage no matter how prejudicial it may be (provided, of

course, it is legally relevant).” United States v. Moss, 9 F.3d 543, 550 (6th Cir.1993)

(quoting United States v. Thomas, 875 F.3d 559, 562 n.2 (6th Cir. 1989)).

      “The decision whether to strike language from an indictment rests within the

sound discretion of the district court.” United States v. Emuegbunam, 268 F.3d 377,

394 (6th Cir. 2001); accord United States v. Williams, 158 Fed.Appx. 651, 654 (6th

Cir. 2005); United States v. Kemper, 503 F.2d 327, 329 (6th Cir.1974). Such a motion

should be granted only where it is clear that the allegations contained in the

Indictment are not relevant to the charge made or contain inflammatory and

prejudicial matter. United States v. O'Connor, 656 F.3d 630, 645 (7th Cir. 2011);


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United States v. Brye, 318 Fed.Appx. 878, 880 (11th Cir. 2009); United States v.

DeRosier, 501 F.3d 888, 897 (8th Cir.2007).

   B. Allegations of private-sector honest services fraud should be
      stricken because § 1346 is unconstitutional as applied to this case

      1. Background on honest services fraud

      The wire-fraud statute prohibits the use of interstate wires to execute “any

scheme or artifice to defraud, or for obtaining money or property by means of false or

fraudulent pretenses, representations, or promises.” 18 U.S.C. § 1343. Before 1987,

courts construed the wire-fraud (and mail-fraud) statute broadly to affirm convictions

involving schemes to defraud victims of various types of intangible rights. See

McNally v. United States, 483 U.S. 350, 358 (1987). In 1987, the Supreme Court

stopped that practice, holding that the wire and mail fraud statutes were “limited in

scope to the protection of property rights.” McNally, 483 U.S. at 360. The Court said

that if Congress wished to have the fraud statutes cover more than property rights,

then it must “speak more clearly than it has.” Id. at 360.

      Congress responded by enacting 18 U.S.C. § 1346, which clarified that “the

term ‘scheme or artifice to defraud’ includes a scheme or artifice to deprive another

of the intangible right of honest services.”

      Whether that terse amendment qualifies as speaking “more clearly” or
      in any way lessens the vagueness and federalism concerns that produced
      this Court's decision in McNally is another matter. ***

      [T]he Courts of Appeals have spent two decades attempting to cabin the
      breadth of § 1346 through a variety of limiting principles. No consensus
      has emerged. The Fifth Circuit has held that the statute criminalizes
      only a deprivation of services that is unlawful under state law, United
      States v. Brumley, 116 F.3d 728, 735 (1997) (en banc), but other courts
      have not agreed, see United States v. Martin, 195 F.3d 961, 966 (C.A.7

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       1999) (Brumley “is contrary to the law in this circuit ... and in the other
       circuits to have addressed the question”). The Seventh Circuit has
       construed the statute to prohibit only the abuse of position “for private
       gain,” United *1310 States v. Bloom, 149 F.3d 649, 655 (1998), but other
       Circuits maintain that gain is not an element of the crime at all, e.g.,
       United States v. Panarella, 277 F.3d 678, 692 (C.A.3 2002). Courts have
       expressed frustration at the lack of any “simple formula specific enough
       to give clear cut answers to borderline problems.” United States v.
       Urciuoli, 513 F.3d 290, 300 (C.A.1 2008).

Sorich v. United States, 555 U.S. 1204, 1206 (2009) (Scalia, J., dissenting from denial

of petition for writ of certiorari).

       The Supreme Court weighed in, partly, on the breadth of honest services fraud

in Skilling v. United States, 561 U.S. 358 (2010). The Supreme Court stated that §

1346, as written, could raise “due process concerns underlying the vagueness

doctrine.” Skilling, 561 U.S. at 408. To steer clear of a “vagueness shoal,” the Supreme

Court read § 1346 as being limited only to cases “involving offenders who, in violation

of a fiduciary duty, participated in bribery or kickback schemes.” Id. at 368, 407.

       While Skilling narrowed the scope to only bribery and kickback schemes, many

questions, such as the definition and application of the term “bribery” and the vitality

of the lower courts’ limiting principles, remain unanswered.

       2. The private-sector honest services fraud statute’s application
          here is unconstitutionally vague.

       “[T]he void-for-vagueness doctrine requires that a penal statute define the

criminal offense with sufficient definiteness that ordinary people can understand

what conduct is prohibited and in a manner that does not encourage arbitrary and

discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357(1983) (citations

omitted). A statute is unconstitutionally vague if it either (1) “defines [the] offense in


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such a way that ordinary people cannot understand what is prohibited,” or (2)

“encourages arbitrary or discriminatory enforcement.” United States v. Krumrei, 258

F.3d 535, 537 (6th Cir. 2001) (quoting United States v. Avant, 907 F.2d 623, 625 (6th

Cir. 1990)). “Hypothetical vagueness is not enough; the statute must be

unconstitutionally vague ‘as applied to [t]his particular case.’” United States v.

Kettles, 970 F.3d 637, 650 (6th Cir. 2020) (quoting Krumrei, 258 F.3d at 537).

            a. Because § 1346 requires an “official act,” its application here is
               unconstitutionally vague.

      In Skilling, the Court cited to existing federal bribery statutes—18 U.S.C. §§

201(b), 666(a)(2)—and opined that § 1346 would “draw[] content not only from the

pre-McNally case law, but also from [these] federal statutes proscribing—and

defining—similar crimes.” Skilling, 561 U.S. at 412. The Court made clear that the

federal bribery statutes, through § 1346, would apply not only to federal public

officials but also to “state and local corruption and to private-sector fraud[.]” Id. at

413 n.45.

      Some courts after Skilling have expressly looked “to § 201(b) to give substance

to the prohibition on honest-services fraud.” United States v. Nagin, 810 F.3d 348,

351 (5th Cir. 2016). The Sixth Circuit has, similarly, looked to the elements of the

general federal bribery statute, § 201(b), in honest services cases. For example, the

Sixth Circuit found that honest services fraud “requires either an ‘official act’ in

furtherance of the corrupt relationship or an agreement to perform an official act.”




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United States v. Lee, 919 F.3d 340, 350 (6th Cir. 2019), citing McDonnell v. United

States, 579 U.S. 550 (2016).1

        The defendant in Lee, a local public official, was convicted of, among other

things, honest services fraud and Hobbs Act extortion. Lee, 919 F.3d at 339-40. On

appeal, Lee argued that her convictions for those offenses should be reversed in light

of McDonnell. Id. While the court did not expressly state that § 201(b) sets forth all

of the elements of bribery for purposes of § 1346, it was implicit given that most of

the court’s discussion focused on the term “official act” as defined by the Supreme

Court in McDonnell. See Id. at 350-358. Moreover, in a concurring opinion, Circuit

Judge Nalbandian explained that “the question here is whether what [Lee] did was

illegal under federal (not state) law and whether she must serve significant time in

federal prison for what she did.” Id. at 359 (Nalbandian, J., concurrence).2

        This must mean that the elements from § 201(b), form part of “a uniform

national standard” that the Skilling Court said its construction established. Skilling,

561 U.S. at 411. It must also mean that the requirement of an official act, as defined

in McDonnell, applies equally to private-sector honest services cases. Otherwise, as

applied here, § 1346 is unconstitutionally vague because there would be no limiting




1 See also Dimora v. United States, 973 F.3d 496, 498, 500 n.3 (6th Cir. 2020) (reversing
district court’s denial of § 2255 petition as to certain honest services convictions in light of
McDonnell and noting that “courts commonly construe [Hobbs Act extortion and honest
services fraud] as requiring an ‘official act’ as defined in the federal bribery statute, 18
U.S.C. § 201[.]”).
2 Similarly, the Sixth Circuit has consistently held that federal law governs the existence of

a fiduciary duty under the fraud statutes. See Morda v. Klein, 865 F.2d 782, 785 (6th Cir.
1989); United States v. Frost, 125 F.3d 346, 366 (6th Cir. 1997).

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principle or fair notice as to what constitutes bribery in private-sector honest services

cases. As Justice Scalia noted,

       Without some coherent limiting principle to define what “the intangible
       right of honest services” is, whence it derives, and how it is violated, this
       expansive phrase invites abuse by headline-grabbing prosecutors in
       pursuit of local officials, state legislators, and corporate CEOs who
       engage in any manner of unappealing or ethically questionable conduct.

Sorich, 555 U.S at 1206 (Scalia, J.).

       Bribery, under § 201(b), requires a quid pro quo, meaning a specific intent to

“give or receive something of value in exchange for an official act.” United States v.

Sun-Diamond Growers of Cal., 526 U.S. 398, 404-05 (1999) (emphasis in original).

This requirement is what distinguishes a bribe from a “gratuity,” which “may

constitute merely a reward” for some future or even past act. Sun-Diamond, 526 U.S.

at 405. Moreover, an illegal gratuity is outside the scope of honest services fraud. See

Skilling, 561 U.S. at 409-11 (holding that § 1346 only criminalizes bribes and

kickbacks; rejecting other categories such as “undisclosed self-dealing” and “conflict-

of-interest cases”).   Indeed, the U.S. Attorney’s Office for the Southern District of

Ohio recognizes these fundamental requirements. See United States v. Yu Zhou, 2:19-

cr-163-SDM, Response in Opp., R.59 at PageID 603 (explaining, in a private-sector

case, that “honest services fraud requires a breach of this fiduciary duty by

participation in a bribery or kickback scheme—that is, a scheme involving the actual,

intended, or solicited exchange of a thing of value for official action.”) (citing Skilling,

at 407) (emphasis added) (OHSD).

       Applying this federal definition of bribery to the Government’s theories in this

case illustrates how § 1346 is being “stretched out of shape.” Id. at 412.

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      i. The Government’s theory that buying out signature gatherers (i.e.,
         paying them to quit) is private-sector honest services fraud is
         unconstitutionally vague and overbroad.

         The Indictment alleges that “bribe money” was paid to “buy out” signature

gatherers (i.e., pay them to quit). (R.22 at PageID 1282.) In other words, the quo in

quid pro quo is quitting a job. The concept of private-sector honest services fraud, as

applied to these allegations, is unconstitutionally vague.

         To be clear, the specific allegations at issue here are not that the Ballot

Campaign’s signature collectors were paid by the alleged “Enterprise” in exchange

for doing something or omitting to do something within their official duties. Rather,

the Government is seeking to make it a federal criminal offense for one company to

offer another company’s employee a sign-on bonus or anything of value to quit one job

for another. But quitting a job is not an official act under any reasonable definition,

let alone as that term is defined by McDonnell. While paying someone to quit a job

is a quid pro quo in the sense of “this for that” it is clearly not the type of conduct that

form the basis for a federal crime. People with fiduciary duties (employees, attorneys,

prosecutors, elected officials, etc.) routinely quit one job for another, usually because

of better pay or benefits.3




3 For example, Devin Nunes resigned from Congress to become the CEO of the Trump
Media & Technology Group, and acknowledged in his resignation letter that he was
resigning because he “was presented with a new opportunity[.]” See Devin Nunes officially
resigns from Congress, CNN (Jan. 4, 2022) available at
https://www.cnn.com/2022/01/04/politics/devin-nunes-resigns-from-congress/index.html.
Clearly, Nunes was a fiduciary, and he was offered something of value (the position of CEO)
to quit his fiduciary position. Was quitting Congress an official act? If so, under the
Government’s theory, Nunes was offered a bribe because he was offered something of value
(position of CEO) in exchange for an official act (quitting Congress before his term expired).

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         Moreover, if one ignores the official act requirement in private-sector honest

services case, then what is the quo in the quid pro quo here? Under the Government’s

theory there is no line between permissible conduct and a federal crime when a person

quits one job for another.

         Stretching § 1346 to apply when one pays another’s employee to quit one job

for another renders the statute, as applied, unconstitutionally vague.

      ii. The Government’s theory that paying money for “inside information”
          is private-sector honest services fraud is unconstitutionally vague.

         The Government’s other theory of private-sector honest services fraud is that

Borges allegedly paid bribe money to CHS-1 for “inside information,” and describing

that as “the number of total signatures the Ballot Campaign had collected[.]” (R.22

at PageID 1283.)4 This is another unconstitutionally vague application of § 1346.

         The Supreme Court limited application of § 1346 to situations where one

breaches a fiduciary a duty through bribery or kickbacks. Skilling, at 407. Again,

bribery, for purposes of § 1346, requires a quid pro quo, meaning a specific intent to

“give or receive something of value in exchange for an official act.” Sun-Diamond, at

404-05; see also Lee, at 350 (holding that a conviction under § 1346 “requires either

an ‘official act’ in furtherance of the corrupt relationship or an agreement to perform

an official act”).

         Generally, disclosing information about one’s employer does not meet the

definition of official act—it is not a “decision or action on any question, matter, cause,


4 The Government also alleges that the “Enterprise” paid bribe money to signature
gatherers for “inside information” but fails to allege any facts about the character of that
information. (Compare R.22 at PageID 1261 with PageID 1282-83.)

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suit, proceeding or controversy” before CHS-1 or an employee of the Ballot Campaign.

18 U.S.C. § 201(a)(3) (emphasis added); McDonnell, 136 S. Ct. at 2368; see also United

States v. Hawkins, 777 F.3d 880, 882 (7th Cir. 2015) (explaining that, for purposes of

§ 1346, an agent’s receipt of “a payment that does not entail a plan to change how the

employee or agent does his job is neither a bribe nor a kickback.”).

         The Government may contend that the Ballot Campaign’s agents and

employees were under a duty not to disclose inside information. Even under that

theory, however, the application of § 1346 in this case fails for vagueness because the

Government is expanding criminal liability beyond previously recognized limits—

trade secrets and confidential business information.

         In Skilling, the Supreme Court cited with approval an example of a private-

sector honest services bribery scheme. Id. at 401 (citing United States v. Procter &

Gamble Co., 47 F. Supp. 676 (D. Mass 1942)). In Procter & Gamble, the alleged

scheme to defraud involved Procter & Gamble paying bribes to employees of Lever

Brothers Company in exchange for trade secrets. Procter & Gamble Co., 47 F. Supp.

at 678. The district court determined that it is an implied part of the employment

relationship that the employee “will not wrongfully divulge to others the confidential

information, trade secrets, etc., belonging to his employer.” Id.

         Trade secret is a term of art under federal law. See 18 U.S.C. § 1839(3). The

Government makes no allegation that the inside information is a trade secret.5 Nor


5The Government is well-acquainted with trade secrets and knows how to plead trade secrets
when applicable. See e.g. United States v. Yu Zhou, 2:19-cr-163-SDM, Indictment, R. 6 in
passim (alleging, among other things, private-sector honest services fraud through bribery
and improper disclosure of “trade secrets”) (OHSD); United States v. Yanjun Xu, 1:18-cr-43-

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does the Government allege that the inside information constitutes “confidential

business information” such that it was a protected property interest.6

       Confidential business information, as a protected property interest, has

limitations. In Carpenter v. United States, the Supreme Court stated that

“[c]onfidential business information has long been recognized as a property right.”

484 U.S. 19, 26 (1987). The Court reasoned that the news matter at issue was no

different than other types of confidential business information since it constituted the

publisher’s “‘stock in trade, to be gathered at the cost of enterprise, organization, skill,

labor, and money, and to be distributed and sold to those who will pay money for it,

as for any other merchandise.’” Id. (citing Int’l News Serv. v. Associated Press, 248

U.S. 215, 236 (1918)). The Supreme Court again considered intangible property

rights in Cleveland v. United States, 531 U.S. 12 (2000). In Cleveland, the Court held

that “[i]t does not suffice, we clarify, that the object of the fraud may become property

in the recipient's hands; for purposes of the mail fraud statute, the thing obtained

must be property in the hands of the victim.” Cleveland, 531 U.S. at 15.

       In this case, the only description of inside information the Indictment offers is

“the number of total signatures the Ballot Campaign had collected” (the “signature




TSB, Indictment, R.1 in passim (alleging economic espionage and theft of trade secrets)
(OHSD).
6 In a separate filing, Borges argued that, given a fair reading of CHS-1’s employment

contract, the information was not confidential under the terms of the contract. (R.93 at
PageID 1615-17.) The Government responded that whether the information was confidential
under the contract was “irrelevant.” (R.96 at PageID 1660.) Moreover, the Government
suggested that Borges sought to induce CHS-1 to “violate his duty to his employer” by
pursuing a conflict of interest. (Id. at n6.) That theory ignores Skilling, which rejected
conflict of interest cases as a basis for § 1346 prosecutions. Skilling, 561 U.S. at 409-10.

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count”). (R.22 at PageID 1283-84.) Neither CHS-1’s employer nor the Ballot

Campaign held on to the signature count in order to trade or sell that information in

a commercial sense. Cleveland, 531 U.S. at 23 (rejecting the comparison of

Louisiana’s unissued permits to unlicensed patents since Louisiana was not in the

business of holding onto the licenses so that they may sell them in the commercial

sense). Nor could they.

         The signature count was merely a running tally of signatures gathered with

respect to the repeal HB 6 referendum issue. Neither the signature count nor the

actual signed petitions could be transferred or sold for use in some other referendum

issue.7 The signature count is not like “a trademark, brand name, business strategy,

or other product that [the Ballot Campaign] may trade or sell in the open market.”

Id. at 24.

         The Government’s attempt to expand § 1346 through a novel theory using the

amorphous term “inside information” must fail. It violates the concept of fair notice

and exemplifies arbitrary prosecution.

                                               *****

         Section 1346, as applied here, is unconstitutionally vague. Inclusion of that

surplusage in the indictment is particularly prejudicial to Borges because any

argument made, theory espoused, or evidence attempted to be introduced could leave

the jury with the impression that Borges was engaged in conduct that is not legal.

The Supreme Court’s treatment of the concept of honest services fraud demonstrates


7To be clear, there is no allegation that Borges, nor anyone else, sought to obtain the
actual, signed petitions from CHS-1 or the signature gathers.

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what a confusing concept it is. Allowing the Government to confuse the jury with

theories unsupported by law would be irreparably prejudicial to Borges. Therefore,

the allegations that purport to allege private-sector honest services fraud must be

stricken from the indictment and the Government must be forbidden from attempting

to introduce any evidence supporting that theory.

   C. Allegations of Travel Act violations, predicated on O.R.C. §
      3517.22(A)(2), should be stricken from the Indictment.

      Ohio’s Infiltration Statute, O.R.C. § 3517.22(A)(2), governs an inherently

intrastate activity—conduct concerning Ohio proposition/issue campaigns.             The

Infiltration Statute is quasi-criminal in nature because it is not subject to general

police and prosecutorial enforcement, and a violation (after the administrative

requirements are met, if ever) is a misdemeanor. Predicating a Travel Act violation

on this relatively minor, quasi-criminal statute that governs an inherently intrastate

activity, violates constitutional principles of federalism. Moreover, it also violates due

process principles because the Infiltration Statute is broader than the generic

definition of bribery. The Government’s attempt to apply the Travel Act to conduct

that is broader than the generic definition of bribery is unconstitutional.

   1. O.R.C. § 3517.22(A)(2) does not qualify as an offense of bribery for
      purposes of the Travel Act

      The Travel Act prohibits use of interstate facilities to promote or carry on

certain unlawful activities. See 18 U.S.C. 1952(a). The Act provides:

      (a) Whoever travels in interstate or foreign commerce or uses the mail
      or any facility in interstate or foreign commerce, with intent to—

      (1) distribute the proceeds of any unlawful activity; or


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      (2) commit any crime of violence to further any unlawful activity; or

      (3) otherwise promote, manage, establish, carry on, or facilitate the
      promotion, management, establishment, or carrying on, of any
      unlawful activity,

      and thereafter performs or attempts to perform—

      (A) an act described in paragraph (1) or (3) shall be fined under this
      title, imprisoned not more than 5 years, or both[.]

Id. Relevant to this case, the statutory definition of “unlawful activity” includes

“bribery … in violation of the laws of the State in which committed[.]” Id. at

1952(b)(2). Bribery, in this context, is defined to be “the generic definition of bribery,”

described as “includ[ing] payments to private individuals to influence their actions.”

Perrin v. United States, 444 U.S. 37, 45-46 and 49 (1979).

      The Indictment alleges violations of the Travel Act predicated on O.R.C. §

3517.22(A)(2) (the “Infiltration Statute”). (R.22 at PageID 1257.) The Infiltration

Statute provides:

      (A) No person during the course of any campaign in advocacy of or in
      opposition to the adoption of any proposition or issue submitted to the
      voters shall knowingly and with intent to affect the outcome of such
      campaign do any of the following:

      (2) Promise, offer, or give any valuable thing or valuable benefit to any
      person who is employed by or is an agent of a committee in advocacy of
      or in opposition to the adoption of any ballot proposition or issue, for
      the purpose of influencing the employee or agent with respect to the
      improper discharge of the employee’s or agent’s campaign duties or to
      obtain information about the committee’s campaign organization.

O.R.C. § 3517.22.

      By its terms, the Infiltration Statute prohibits more than an intent to

improperly influence or discharge actions, the heartland of generic bribery. See


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Perrin, 444 U.S. at 45 & n.9 and 10 (surveying state statutes, all requiring an intent

to influence actions). It also prohibits an intent “to obtain information about the

committee’s campaign organization.” O.R.C. § 3517.22(A)(2).8             Inclusion of that

alternative conduct makes the Infiltration Statute broader than the generic definition

of bribery.9 For that reason alone, the Infiltration Statute is not a bribery offense for

purposes of the Travel Act.

         The Government’s attempt to predicate the Travel Act on this overbroad

statute violates due process. For these reasons, the Court should strike the offending

allegations (see Section II, supra) from the Indictment as prejudicial surplusage.

      2. Continued prosecution violates constitutional federalism concerns

         Predicating the Travel Act on the Infiltration Statute violates constitutional

federalism concerns. By its terms, the Infiltration Statute governs an inherently

intrastate activity—Ohio proposition/issue referendum campaigns. The Ohio General

Assembly determined that a violation of the Infiltration Statute is an administrative

matter that must first be presented to the Ohio Elections Commission and subjected

to its administrative provisions. See O.R.C. § 3517.22(C). If those administrative

provisions (O.R.C. §§ 3517.154 to 3517.157) have been satisfied, then the matter may

be referred to a local prosecutor for consideration. O.R.C. 3517.155(A)(1). Only then


8 Ohio’s Bribery statute, O.R.C. § 2921.02, does not include this alternative language. Thus,
the Infiltration Statute is broader than the generic definition of bribery, Ohio’s general
bribery statute, and the general federal bribery statute, supra.
9 This is true applying either a categorical approach, see e.g. Taylor v. United States, 495

U.S. 575, 598-99 (1990), or a conduct-based approach, see e.g. United States v. Rogers, 389
F.Supp.3d 774 (CDCA 2019) (rejecting the categorical approach and finding that Perrin
requires a conduct based analysis for purposes of the Travel Act). See also Shular v. United
States, 140 S. Ct. 779 (2020) (discussing the two approaches and their applicability).

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may a misdemeanor charge be brought for the alleged violation of the Infiltration

Statute. See O.R.C. §§ 3517.22(C) and 3517.992(V).

         The Supreme Court, mindful that concurrent state and federal jurisdiction

raises federalism concerns, has mandated that the Travel Act be construed narrowly:

“Congress would certainly recognize that an expansive Travel Act would alter

sensitive federal-state relationships, could overextend limited federal police

resources, and might well produce situations [that] would transform relatively minor

state offenses into federal felonies.” Rewis v. United States, 401 U.S 808, 812 (1971).

         The Government is using the Travel Act to transform a minor, quasi-criminal

state offense into a federal felony which is then alleged as a predicate for an even

more serious federal felony—RICO conspiracy. The Government’s attempt to expand

bribery, for purposes of the Travel Act, violates basic due process guarantees and

upsets the delicate balance between state and federal police powers.

                                              *****

         The alleged violations of the Infiltration Statute are, therefore, an improper

predicate under the Travel Act. The Court should strike the offending paragraphs

as prejudicial surplusage.

   IV.      CONCLUSION

         Based on the foregoing, the Court should grant this motion and strike from

the Indictment allegations concerning private-sector honest services fraud and the

Travel Act.




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                                        Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing Motion was electronically
filed with the Clerk of the United States District Court using the CM/ECF system on
February 1, 2022, which will send notification of such filing to all attorneys of record
including Assistant United States Attorneys Emily Glatfelter and Matthew Singer.


                                        /s/ Karl H. Schneider
                                        Karl H. Schneider (0012881), Lead Counsel




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